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                           UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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         TYLER M.E., 1                           Case No. EDCV 23-1291 RAO
12
                           Plaintiff,
13
               v.                                JUDGMENT
14
         MARTIN J. O’MALLEY,
15       Commissioner of Social Security,
                          Defendant.
16
17            In accordance with the Memorandum Opinion and Order filed concurrently
18   herewith,
19            IT IS ORDERED AND ADJUDGED that the decision of the Commissioner
20   of Social Security is AFFIRMED.
21
22   DATED:         April 29, 2024                   /s/
23                                          ROZELLA A. OLIVER
                                            UNITED STATES MAGISTRATE JUDGE
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27    Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B)
     and the recommendation of the Committee on Court Administration and Case
28   Management of the Judicial Conference of the United States.
